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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA
     Plaintiff,

vs.                                                                CASE NO.: 21-CR-28 (APM)

KELLY MEGGS and CONNIE MEGGS,
     Defendants.
                                              /

           DEFENDANT’S MOTION TO EXCLUDE CONFIDENTIAL MARITAL
                            COMMUNICATIONS

       COME NOW the defendant, KELLY MEGGS, who, by and through undersigned counsel

and pursuant to Federal Rule of Evidence 501, files this Defendant’s Motion to Exclude

Confidential Marital Communications and states:

       1.      The defendant together with his spouse, Connie Meggs, is charged in a multi-

defendant indictment with conspiracy, obstructing a government proceeding, destroying

government property, entering restricted grounds and tampering with documents or proceedings.

Doc 328.

       2.      The date alleged in the fifth superseding indictment to have been the start of the

conspiracy is November 3rd, 2021. Doc. 328.

       3.      In a pleading responsive to a Motion for Reconsideration of Conditions of Release

filed by co-defendant Joseph Hackett, the government included a screen shot of three text messages

between Kelly and Conny Meggs to which Mr. Hackett was not a party. Doc. 344.

       4.      The messages, which at first blush appear to have been exchanged on November

4th, 2021 and their corresponding times are as follows:

Connie Meggs:     Trump wins Kentucky I’m so nervous 11/4/2020 12:11:42 AM (UTC+0)
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Kelly Meggs:       I’m gonna go on a killing spree       11/4/2020 12:54:23 AM (UTC+0)

Kelly Meggs:       Pelosi first                          11/4/2020 12:54:33 AM (UTC+0)

       5.      Despite the apparent time of the messages having taken place in the early hours of

November 4th, 2021, by converting Coordinated Universal Time (UTC) as shown in the messages

to Eastern Standard Time, they were sent on November 3rd, 2021 at 7:11:42 P.M., 7:54:23 P.M.

and 7:54:33 P.M., respectively.

       6.      These times are consistent with media reports announcing then-candidate Donald

Trump as the election winner in the State of Kentucky at 7:04 P.M. E.S.T.

       7.      There is no indication that the messages between the two spouses were, or were

intended to be, transmitted to any third-parties or other family members and were confidential

between the two of them.

       8.      As distasteful as the messages by Mr. Meggs to his spouse may be, there is no

indicia that they were part of any “future or ongoing crimes” at the time they were made. In fact,

it appears that the election results were favorable to Mr. Trump when they were sent.

       9.      As a result, the statements were and continue to be within the protections of the

marital communications privilege and should be excluded from introduction by the government

for any purpose.

       10.     The undersigned has discussed the substance of this motion with Assistant United

States Attorney Jeffrey Nestler, Esq., who indicates the government’s objection to the Court’s

granting of the relief requested herein.
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                                  MEMORANDUM OF LAW

       “There are two recognized types of marital privilege: the martial confidential

communications privilege and the spousal testimonial privilege.” United States v. Singleton, 260

F.3d 1295, 1297 (11th Cir. 2001). The marital confidential communications privilege “excludes

information privately disclosed between husband and wife in the confidence of the marital

relationship.” Harrison v. United States, 577 F. App’x 911, 913 (11th Cir. 2014) (citing Trammel

v. United States, 445 U.S. 40, 51 (1980)).

       There is a presumption that communications within a marriage are confidential. See United

States v. Singleton, 260 F.3d 1295, 1297 (11th Cir. 2001) (citing Blau v. United States, 340 U.S.

332 (1951)). One, the “marital communications privilege,” allows either spouse to refuse to

testify, and to prevent the other spouse from testifying, about confidential communications

between the spouses during their marriage. United States v. Montgomery, 384 F.3d 1050, 1056 (9th

Cir. 2004); United States v. Ramos-Oseguera, 120 F.3d 1028, 1042 (9th Cir. 1997). United States

v. Byrd, 750 F.2d 585, 592 (7th Cir. 1984). This privilege covers statements that are “confidential,”

not statements made in front of, or likely to be overheard by, a third party. “However, the privilege

does not apply to communications made in the presence of third parties, and generally applies to

statements, not acts.” Harrison v. United States, 577 F. App’x 911, 913 (citing Pereira v. United

States, 347 U.S. 1, 6 (1954)). Nor does it protect communications “having to do with present or

future crimes in which both spouses are participants.” Id. (citing United States v. Parker, 834 F.2d

408, 411 (4th Cir. 1987))

       The effect of the confidential communications privilege bars the admission of: (1) any

words or actions which are intended by one spouse to be a communication to the other; (2) when
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the communications occurred during the time of a valid marriage; and (3) where the spouse

intended for the communication to be confidential. See generally United States v. Evans, 966 F.2d

398, 401 (8th Cir. 1992) (citations omitted), cert. denied, ___ U.S. ___, 113 S. Ct. 502, 121 L. Ed.

2d 438 (1992). Although marital communications enjoy a presumption of confidentiality, this

presumption    may       be   rebutted   by   the   particular   circumstances   surrounding    the

communication. Pereira v. United States, 347 U.S. 1, 6, 74 S. Ct. 358, 361-62, 98 L. Ed. 435

(1954) (citations omitted). United States v. Duran, 884 F. Supp. 537 (D.D.C. 1995).

       One manner of rebutting the presumption of confidentiality is the crime-fraud exception to

the marital communications privilege, which pertains to communications involving future or

ongoing crimes in which both spouses were joint participants. This exception, however, is not

absolute, it requires a showing that the joint participation existed at the time of the

communications. United States v. Broome, 732 F.2d 363, 365 (4th Cir.), cert. denied, 469 U.S.

855, 105 S.Ct. 181, 83 L.Ed.2d 116 (1984); United States v. Entrekin, 624 F.2d 597, 598 (5th

Cir.1980) (per curiam), cert. denied, 451 U.S. 971, 101 S.Ct. 2049, 68 L.Ed.2d 350 (1981); United

States v. Kahn, 471 F.2d 191, 194 (7th Cir.1972), cert. denied, 411 U.S. 986, 93 S.Ct. 2271, 36

L.Ed.2d 964 (1973), rev'd on other grounds, 415 U.S. 143, 94 S.Ct. 977, 39 L.Ed.2d 225 (1974).

The time period in which the messages were shared was clearly prior to any “joint participation”

in the crimes alleged.

       Even, assuming arguendo, that Mr. Meggs statements could be construed as a manifestation

of some level of mens rea, (and he does not agree that it was), the initial disclosure of a crime to

one’s spouse, without more, is covered by the marital communications privilege. If the spouse later

joins the conspiracy, communications from that point certainly should not be protected.” United
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States v. Westmoreland, 312 F.3d 302, 308 (7th Cir. 2002). A number of other circuits have

indicated agreement with drawing a distinction between communications made before and after

joint criminal activity has been undertaken. See United States v. Vo, 413 F.3d 1010, 1017 (9th Cir.

2005) (“The exception has its own limits: Where, for example, the wife has not become a

participant at the time of her communications, no joint criminal activity has been undertaken, and

the joint criminal activity exception does not apply.”) (citations and internal quotation marks

omitted); United States v. Bey, 188 F.3d 1, 6 (1st Cir. 1999) (“Our review of the case law, however,

reveals that a court may admit relevant confidential marital communications that take place after

the spouse has become a joint participant in the criminal activity.”).

       Because the text messages at issue herein constituted communications that were intended

to be confidential and occurred prior to any alleged “joint” criminal conduct in which both spouses

are alleged to have been participants, the messages are privileged and should not be admitted for

any purpose.

       WHEREFORE, it is respectfully requested that the Court grant this Motion to Exclude

Confidential Marital Communications.


                                                      RESPECTFULLY SUBMITTED,

                                                      /s/ David Anthony Wilson
                                                      DAVID ANTHONY WILSON
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                                 CERTIFICATE OF SERVICE
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          I HEREBY CERTIFY that on September 17th, 2021, I electronically filed the foregoing

with the Clerk of the Court by using the CM/ECF system, which will send a notice of electronic

filing to the following: Office of the United States Attorney.



                                                     /s/ David Anthony Wilson
                                                     DAVID ANTHONY WILSON
